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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:17CR312

       vs.
                                                                        ORDER
OANH T. PHAM,

                       Defendant.

       This matter is before the court on defendant's Motion to Continue Pretrial Deadlines [25]
as amended by defendant’s Amended Motion to Continue Pretrial Deadlines [28]. For good
cause shown, I find that the amended motion should be granted. The defendant will be given an
approximate 90-day extension. Pretrial motions shall be filed by April 23, 2018. The motion
[25] will be termed.
       IT IS ORDERED:
       1.      Defendant's Motion to Continue Pretrial Deadlines [25] shall be termed on the
docket, as it was amended by Filing No. 28.
       2.      Defendant's Amended Motion to Continue Pretrial Deadlines [28] is granted.
Pretrial motions shall be filed on or before April 23, 2018.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between January 22, 2018 and April 23, 2018, shall
be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       Dated this 23rd day of January, 2018.

                                                      BY THE COURT:


                                                      s/ Susan M. Bazis
                                                      United States Magistrate Judge
